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        Attachment to ECF No. 1-1
     (Declaration of Sid Miller, Texas Agriculture Commission)




                                        Exhibit A
                        Texas Department of Agriculture
                        Dress Code and Grooming Policy




Case No. 5:24-cv-00225-C
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                                            Texas Department of Agriculture
COM M ISSIONER SID M ILLER                    Dress Code and Grooming Policy


 Objective           An employee’s appearance should reflect the culture, dignity, and professionalism of the Texas Department
                     of Agriculture. All employees, regardless of assignment, are expected to present themselves in a
                     professional manner that cultivates a favorable impression from coworkers, other government officials,
                     agency customers and the general public. Employees are expected to comply with this dress code in a
                     manner consistent with their biological gender. Basic elements for appropriate attire across the board
                     consist of clothing that is in neat and clean condition.

 Applicability       This dress code and grooming policy applies to all employees of TDA, including interns and contract
                     employees who will be working on TDA premises or interacting with others on behalf of TDA. Divisions
                     may institute dress codes for their respective areas but may not authorize violation of the minimum
                     standards established by this agency policy. An exception would be for appropriate attire related to a
                     specialized service, activity or event being conducted. Examples of such would be field work in
                     agriculture and consumer protection, export pens, facilities-related labor and other similar types of
                     specialized assignments or special events that, as a practical matter, call for a departure from these
                     standards. In such circumstances employees shall wear attire appropriate for the mission. See “Specific
                     requirements and departure from standards”, below.

 Procedures          TDA supervisors may exercise reasonable discretion in assessing appropriateness in employee attire and
                     appearance. Any staff member who does not meet the attire or grooming standards set by TDA will be
                     subject to corrective action and may be asked to leave the premises to change their clothing. Staff members
                     will not be compensated for any work time missed because of failure to comply with designated workplace
                     attire and grooming standards.

 Guidelines          Business Attire
                     Business attire should generally be utilized where employees will be interacting with the public and other
                     government officials or testifying or making presentations on behalf of the agency. This would consist of
                     traditional business wear, including Western business attire.

                     The following are some examples of business attire: For men, business attire includes a long-sleeved dress
                     shirt, tie, and sport coat worn with trousers and dress shoes or boots. For women, business attire includes
                     tailored pantsuits, businesslike dresses, coordinated dressy separates worn with or without a blazer, and
                     conservative, closed-toe shoes or boots.

                     Business Casual
                     For less formal occasions, business casual attire, which is less formal than traditional business attire, but is
                     still intended to give a professional and businesslike impression, may be appropriate. Business casual is the
                     appropriate minimum attire for day-to-day office assignments where in-person interaction is primarily with
                     fellow coworkers and not with the general public or other government officials.

                     Western attire is included in the business casual category and is encouraged. Jeans may not be tattered or
                     torn. Cowboy hats must reflect favorably on the professionalism of the agency and in no circumstance be
                     unclean or tattered.

                     The following are some examples of business casual attire:
                     Shirts with collars, business casual crewneck or V-neck shirts, blouses, and golf and polo shirts.

                     Examples of inappropriate shirts include T-shirts, shirts with inappropriate slogans, tank tops, muscle
                     shirts, camouflage, and crop tops.

                     Pants: Casual slacks and trousers and jeans without holes, frays, etc. Examples of inappropriate pants
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                    include shorts, camouflage, and baggy or sagging pants or pants worn below the waist or hip line.

                    Footwear: Casual slip-on or tie shoes, Western boots, and clean athletic shoes. Examples of inappropriate
                    footwear include flip-flops, slippers, slides and crocs.

                    TDA-Specific Attire
                    Agency uniforms and approved agency embroidered attire are allowable and encouraged. Employees
                    should confirm the appropriate agency-related attire with their supervisor.

                    Inappropriate Attire and Grooming Generally
                    Employees are expected to demonstrate good judgment and professional taste. Courtesy towards coworkers
                    and one’s professional image to customers are factors to be used in assessing whether you are dressing in
                    attire that is appropriate. Cleanliness and proper hygiene are indispensable. The following are examples of
                    inappropriate dress:

                    Clothing that is too tight or revealing; clothing with rips, tears or frays; or any extreme style or fashion;
                    pajamas, workout clothes and sweats; T-shirts, shirts with inappropriate slogans, tank tops, team jerseys,
                    muscle shirts, camouflage and crop tops; shorts, camouflage pants, baggy or sagging pants or pants worn
                    below the waist or hip line; flip-flops, slides, slippers or crocs.

                    Examples of Standards for Men and Women
                    Standards for men’s attire: Shoelaces tied, shirts buttoned appropriately near the collar, button down shirts
                    tucked in; no pants tucked in boots; no sandals, crocs or slides, no shoes without socks. You are a
                    professional, look like one.

                    Standards for women’s attire: No sweatpants, pajamas, night gowns, miniskirts, no excessive cleavage,
                    skirts should be within four inches of the knees. Pants and Western apparel are allowable. Footwear should
                    reflect a business or business casual professional look; no slippers, crocs, or slides. You are a professional,
                    look like one.

                    Grooming Standards
                    No unnatural neon or fluorescent hair colors, no nose, lip, or other facial piercings.

                    Specific requirements and departure from standards
                    Certain staff members may be required to meet special dress, grooming and hygiene standards, such as
                    wearing uniforms or protective clothing, depending on the nature of their job. Uniforms and protective
                    clothing may be required for certain positions. Special events may necessitate a departure from the agency
                    dress code. Supervisors should be consulted to confirm the applicability of specific requirements and
                    departure from the normal agency standards.

Addressing          Violations of the policy can range from inappropriate clothing items to offensive perfumes/colognes and
Related             body odor. If a staff member comes to work inappropriately groomed or attired, he or she will be required
Workplace           to go home, change into conforming attire, or properly groom, and return to work.
Problems
                    If a staff member’s inappropriate attire, poor hygiene or use of offensive perfume/cologne is an issue, the
                    supervisor should first discuss the problem with the staff member in private and should point out the
                    specific areas to be corrected.

                    If problems with an employee persist, supervisors should follow the normal disciplinary process. Violation
                    of this agency policy includes remedies up to and including termination.




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